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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 PERKINS COIE LLP,
                    Plaintiffs,
         v.
 U.S. DEPARTMENT OF JUSTICE, et al.,                   Civil Action No. 25-0716 (BAH)

                    Defendants.




            DEFENDANTS’ RESPONSE TO PLAINTIFF’S STATEMENT
       OF MATERIAL FACTS AS TO WHICH THERE IS NO GENUINE DISPUTE

       Pursuant to Local Civil Rule 7(h)(1), Defendants hereby respectfully submit the

following response to Plaintiff’s Statement Of Material Facts As To Which There Is No Genuine

Dispute (ECF 39-2).

       Preliminarily, Defendants note that this Response identifies which of the factual grounds

asserted in Plaintiff’s statement of material facts are disputed. In light of Defendants’ separate

dispositive motion, the term, “disputed,” or similar references herein should not be construed to

mean necessarily that Defendants believe that there are genuine issues of material fact that would

necessitate a trial. Rather, such language simply means that Defendants disputes Plaintiff’s

statement regarding that matter. Defendants maintain their position that grounds exist entitling

Defendants to dismissal and judgment as to Plaintiff’s claims. Further, to the extent that matters

stated in Plaintiff’s statement of material facts are not disputed herein, they are not disputed at

this time only for purposes of resolution of the pending cross-dispositive motions. Also,

Defendants’ position is that such matters are not necessarily material to resolution of the pending

dispositive motions.
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      Plaintiff’s Statement of
 Material Fact Not in Dispute (by                     Defendants’ Response
            ¶ number)
 1.-14.                           Undisputed.

 15.                                 Dispute characterization (but not topic) of pro bono
                                     litigation described in second sentence. See EO 14230 §
                                     1.
 16.-17.                             Undisputed.

 18.-19.                             Undisputed.

 20.                                 Last sentence of paragraph is disputed. See Exec. Order
                                     14230 § 1; Exec. Order 14173 of Jan. 21, 2025, 90 Fed.
                                     Reg. 8633 (Jan. 31, 2025); 42 U.S.C. § 2000e-2; EEOC
                                     Press Release, EEOC and Justice Department Warn
                                     Against Unlawful DEI-Related Discrimination (Mar. 19,
                                     2025) (available at
                                     https://www.eeoc.gov/newsroom/eeoc-and-justice-
                                     department-warn-against-unlawful-dei-related-
                                     discrimination) (Exhibit 1)1
 21.                                 First and final sentence are disputed. See Exhibits 2, 3,
                                     4, 5, 6, 7, 8 (discussed in Defs’ Mem. in Support of Mot.
                                     to Dismiss and for Expedited Judmt. § I (ECF 43); Defs’
                                     Opp. to Pls’ Mot. for Summ. Judmt. § III (filed Apr. 16,
                                     2025)).
 22.-23.                             Undisputed as to current status of Fellowship program.
                                     Disputed as to prior status of the program. See, Am. All.
                                     for Equal Rights v. Perkins Coie LLP, No. 3:23-cv-1877
                                     (N.D. Tex. Aug. 22, 2023), ECF No.1 (Compl. ¶ 25),
                                     ECF No. 31 (Stipulation) (Exhibits 9, 10) (discussed in
                                     Defs’ Mem. in Support of Mot. to Dismiss and for
                                     Expedited Judmt. § I (ECF 43)).
 24.                                 Disputed as to final sentence.

 25.-28.                             Undisputed.

 29.-34.                             Undisputed.

 35.                                 Undisputed; immaterial.

 36.                                 Undisputed.


        The numbered exhibits referenced in this Response are attached to the Declaration of
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Richard Lawson, submitted herewith.
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     Plaintiff’s Statement of
Material Fact Not in Dispute (by                  Defendants’ Response
           ¶ number)
37.-50.                          Undisputed.

51.-52.                          Undisputed that work can involve (vs. requires) access to
                                 federal government buildings.
53.                              Undisputed.

54.-67.                          Undisputed.

68.-69.                          Undisputed.

70.-74.                          Undisputed.

75.-76.                          Undisputed, although a more fulsome account of the
                                 matters discussed is contained in Special Counsel, Report
                                 On Matters Related To Intelligence Activities And
                                 Investigations Arising Out Of The 2016 Presidential
                                 Campaigns (May 12, 2023) at 233 & ff. (available at
                                 https://www.justice.gov/archives/media/1381211/dl)
                                 (Exhibit 11).
77.-79.                          Undisputed.

80.-82.                          Immaterial and the cited court filings speak for
                                 themselves.
83.                              Undisputed.

84.-88.                          Undisputed and cited court filings speak for themselves.

89.                              Undisputed.

90.                              Undisputed.

91.                              Disputed as to last sentence.

92.-98.                          Undisputed.

99.                              Undisputed without prejudice to status of maintenance of
                                 facility clearance.
100.-105.                        Characterizations that are immaterial as the cited posts,
                                 interviews, and other materials speak for themselves.
(106. left blank)

107.-118.                        Characterizations that are immaterial as the cited posts,
                                 interviews, and other materials speak for themselves.

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     Plaintiff’s Statement of
Material Fact Not in Dispute (by                 Defendants’ Response
           ¶ number)
119.                             Disputed characterization without citation.

120.-121.                          Characterizations that are immaterial as the cited
                                   materials speak for themselves.
123.                               Undisputed.

124.-125.                          Characterizations that are immaterial as the cited
                                   materials speak for themselves.
126.                               Disputed legal conclusion.

127.-133.                          Characterizations that are immaterial as the cited
                                   executive order speaks for itself.
134.                               Undisputed.

135.                               Undisputed as to certain agencies.

136.-139.                          Characterizations that are immaterial as the cited
                                   materials speak for themselves.
140.                               As to first sentence, undisputed that Acting Chair Andrea
                                   Lucas of the EEOC sent letters to Perkins Coie and 19
                                   other law firms requesting certain information about each
                                   firm’s employment practices; the remainder of the
                                   sentence is a characterization that is immaterial as the
                                   referenced letters speak for themselves. The final
                                   sentence of the paragraph is disputed as it reflects a legal
                                   conclusion.
141.                               Undisputed, except as to characterization of letters as
                                   “investigative.”
142.-143.                          Characterization that is immaterial as the cited materials
                                   speak for themselves. See also EEOC, President
                                   Appoints Andrea R. Lucas EEOC Acting Chair (Jan. 21,
                                   2025) (Exhibit 12); Memorandum from Attorney
                                   General, Re: Ending Illegal DEI and DEIA
                                   Discrimination and Preferences (Feb. 5, 2025) (Exhibit
                                   13).
144.                               The first sentence is disputed as reflecting a legal
                                   conclusion. The first clause of the second sentence is a
                                   characterization that is immaterial as the cited letter
                                   speaks for itself. The second clause of the second
                                   sentence is undisputed that no formal charge has been
                                   filed with the EEOC.
145.                               Disputed as reflecting legal conclusions.


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     Plaintiff’s Statement of
Material Fact Not in Dispute (by                Defendants’ Response
           ¶ number)
146.                             Undisputed; immaterial.


147.                            Undisputed.

148.                            Undisputed.

149.                            Disputed as reflecting legal conclusions.

150.-151.                       Undisputed; dispute the unstated causation inference.

152.-159.                       Undisputed; dispute the unstated causation inference.

160.                            Disputed as factual inference or conclusion or legal
                                conclusion.
161.                            Disputed as factual inference or conclusion.

162.                            First sentence is undisputed. The second sentence is
                                disputed as factual inference or conclusion.
163.-166.                       Disputed as factual inference or conclusion.

167.                            Disputed as factual inference or conclusion or legal
                                conclusion.
168.-172.                       Disputed as factual inference or conclusion.

173.-175.                       Disputed as legal conclusions.

176.-177.                       Disputed as factual inference or conclusion or legal
                                conclusion.
178.-183.                       Undisputed.

184.                            Disputed as legal conclusion.

185.                            Disputed as legal conclusion.

186.-189.                       Disputed as legal conclusions.

190.                            First sentence disputed as legal conclusion. Second
                                sentence undisputed.
191.-193.                       Disputed as factual inference or conclusion or legal
                                conclusion.
194.                            Undisputed that Plaintiff submitted expert reports in
                                connection with its motion for summary judgment and

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    Plaintiff’s Statement of
Material Fact Not in Dispute (by                    Defendants’ Response
          ¶ number)
                                   that other groups and lawyers have criticized Executive
                                   Order 14230. The remainder of the paragraph is
                                   characterization that is immaterial as the referenced
                                   materials speak for themselves.
195.-214.                          Characterizations that are immaterial as the cited
                                   materials speak for themselves. The cited materials are
                                   disputed as opinion testimony and characterizations
                                   comprising factual inferences, legal argument, and legal
                                   conclusions.
215.                               Undisputed that Plaintiff submitted an expert report from
                                   J. William Leonard in connection with its motion for
                                   summary judgment. The remainder of the paragraph is
                                   characterization that is immaterial as the referenced
                                   report speaks for itself.
216.-224.                          Characterizations that are immaterial as the cited report
                                   speaks for itself. The cited report is disputed as opinion
                                   testimony and characterizations comprising factual
                                   inferences, legal argument, and legal conclusions.
225.                               Undisputed that Plaintiff moved for a TRO on March 11,
                                   2025. The remainder of the sentence is disputed as
                                   factual inference and legal conclusion.
226.                               Undisputed.

227.-234.                          Characterizations that are immaterial as the cited
                                   materials speak for themselves.
235.                               The first sentence is disputed. The second sentence is
                                   characterization that is immaterial as the cited material
                                   speaks for itself.
236.                               Disputed as immaterial characterization of executive
                                   orders that speak for themselves.
237.-238.                          Characterizations that are immaterial as the cited
                                   materials speak for themselves.
239.                               Undisputed.

240.-242.                          Characterizations that are immaterial, and the cited
                                   materials speak for themselves.
243.-249.                          Characterizations that are immaterial, and the cited
                                   materials speak for themselves.
250.                               Undisputed.

251.                               Characterization that is immaterial as the cited material
                                   speaks for itself.


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     Plaintiff’s Statement of
Material Fact Not in Dispute (by                    Defendants’ Response
           ¶ number)
252.-253.                        Characterization that is immaterial as the cited executive
                                 order speaks for itself.
254.                             First sentence is undisputed. The second sentence is
                                 characterization that is immaterial as the cited material
                                 speaks for itself.
255.                             Characterization that is immaterial, and the cited
                                 materials speaks for themselves.
256.-257.                        Characterizations that are immaterial, and the cited
                                 materials speak for themselves.
258.                             Undisputed.

259.-261.                           Characterization that is immaterial as the cited executive
                                    order speaks for itself.
262.                                Characterization that is immaterial as the cited material
                                    speaks for itself.
263.                                Undisputed and the cited material speaks for itself.

264.                                Undisputed and the cited material speaks for itself.




Dated: April 16, 2025                    Respectfully submitted,
       Washington, D.C.

                                         CHAD MIZELLE
                                         Acting Associate Attorney General


                                         /s/ Richard Lawson
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